Case 3:17-bk-30004-MFW               Doc 10 Filed 01/16/18 Entered 01/16/18 12:38:15         Desc
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                       IN THE DISTRICT COURT OF THE VIRGIN ISLANDS
                                   BANKRUPTCY DIVISION
                           ST. THOMAS & ST. JOHN, VIRGIN ISLANDS



 In Re:
 NOLASCO COMMUNICATION, INC.                                    Bankruptcy No. 3-17-30004-MEW
                            Debtor                              Chapter 7




                                          STATUS REPORT


          Pursuant to the Order of this Court on January 11, 2018, the undersigned Trustee,

hereby reports the status of this matter.

          Since the filing of this matter by the above captioned Debtor, the undersigned has

conducted a 341 hearing and has extensively discussed the matter with Debtor’s counsel. Based

on questioning of both the Debtors representative and counsel and a review of the Debtor

available financial records, it is clear that the Debtor has no assets that can be liquidated for the

benefit of the creditors.

        Therefore, a Report of No Distribution will be filed.



Dated: January 12, 2018                                         _________________________________
                                                                Kevin F. D’Amour, Trustee




 cc: Benjamin A. Currence, Esq.
